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           EXHIBIT 20
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                               SUPPLEMENTAL INFORMAT'IO'             G? PEER REVIE'h WO uKSHEET

                                      I.  STUDY IDENTIFICATION
            Active Ingredient Glyphosate
            Sti 950 #: 241      Document #: 364-163 (Rebuttal) and 364-142 through 364-
            148 (individual data to original mouse oncogenicity study report)
            Pcord #: 48775 (Rebuttal) and 45712-45718 (individual data)
            Addenda to Record #: 937660               (Vol.    1 of original    reporrt),   36060   (additional
            data on male kidneys)
            Addenda to Document #: 364-076 and 364-128, respectively.
            Study Type: Mouse oncogenicity (832)
            Full Study Title: Chronic Feeding/Oncogenicity Study in Mice, BD-77-420.
             (Wording of this glyphosate study title varies between submissions)
            Company Sponsor: Monsanto
            Testing Laboratory: Bio/dynamics
            Final Report Date: 7/21/83 (date of final report,                     Vol.   76).     Vols.    142-148
            dated 6/6/36, and Vol. 163 dated 8/26/86.

                                                      II.     STUDY STATUS
            A. Does this supplemental information or "second opinion" review lead to new
            conclusions regarding the study's acceptability or changes in the status of
            possible significant adverse health effects, compared to the most recent
            review?
                 Yes.   Study is now complete and acceptable as an oncogenicity study.
            There is a possible adverse (oncogenic) effect.

            B.   Is the Report Complete? yes          Is the Study Acceptable yes
                      -Meets EPA guidelines?                  -Has useful data yes
                 yes  •-Maaor variances from u iuelines?      -Has no useful data
                      -Major variances from guidelines?       -Insufficient data
                      -Could be upgraded with additional      -Other
                           information (see discussion)

            C. Conclusions: Does the study as reported demonstrate a possible
            significant adverse health effect?
                 yes.

                   If so , in what area ?        Oncogeni city (renal tubular adenomas)

            D. New "one liner": One or two sentence summary of the study, its status,
            and the conclusions, taking into account any supplemental information or
            peer review changes:

            Document #s: 364-163 (Rebuttal) and 364-142 through 364-148 (individual data
            to original mouse oncogenicity study report)        Record #s: 48775 (Rebuttal)
            and 45712-45718 (individual data ).   Addenda to Record #s : 937660 (Vol. 1 of
            original report), 36060 (additional data on male kidneys), and Document #s:
            364-076 and 364-128, respectively.    Oncogenicity , mouse , Bio/dynamics, dated
            7/21/83 (final report, Vol. 76).     Vols. 142-148 dated 6/6/86, and Vol. 163
            dated 8/26/86.   Rebuttal review by C. Aldous (11/17/86).       Previous reviews
            by J. Christopher (Vol    1 of report - CDFA Doc. #364-076, reviewed 7/19/85)
            and J. Remsen Gee (additional data in Doc. #364-128, reviewed 5/1/86).
            Glyphosate, 'technical (99.7%).   Dosages of 0, 1000, 5000, and 30000 ppm in
            diets of CD-1 mice.     Possible oncogenic effect (renal tubular epithelial
            adenoma incidence of 0, 0, 1, and 3 in 0, 1000, 5000, and 30000 ppm groups,

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              respectivel,y).  General systemic toxicity NOEL - 5000 ppm (Effects at 30000_
              ppm included central lobular hepatocyte hypertrophy in -males, central
              lobular hepatocyte necrosis in males,      chronic interstitial nephritis in
              males, and proximal tubule epithelial basophilia and hypertrophy in
              females).   Report acceptable and complete.   Filename = GLYP,001.241.
              NOTE: EPA is requiring a repeat mouse oncogenicity study (EPA publication,
              "Guidance for the reregistration of pesticide products containing glyphosate
              as the active ingredient" (June, 1986).


                                         III. NATURE OF SUPPLEMENTAL INFORMATION

                    The additional data (CDFA Vols. 142-148) are volumes 2-8 of the
              original report.       These volumes include largely individual data of body
              weight,     food  consumption,   clinical observations, water consumption,
              hematology, organ weights,    histology (including cross-referencing with gross
              f-lnd n:;s),   neoplastic lesion summaries identifying individual animal ID
              numbers, and individual animal fate data.

                    The rebuttal comments (Vol. 163)             include the following responses to J.
               P. Christopher's review of 7/19/85:

               a.  (ref JPC concern about an excessively wide weight range among male mice
               initiated on test):

                    Only 1 male mouse was outside the ±20% range called for in 1982 guide-
               lines.

              b.    (ref need for historical tumor data):

                   Attachment 1 of Vol. 163 provides historical tumor incidence data for
              male kidneys, non-neoplastic incidence data for male and female kidneys, and
              lymphoreticular/hematopoietic system tumor data for both sexes. ,

               c.   (ref JPC concern about dosage level justification):

                    A    90-day mouse subchronic study (Bio/dynamics Project No. 77-2111) was
               cited,    in which dosages of 50,000 ppm glyphosate resulted in decreased body
               weight    gains of 24 and 18% in males and females , respectively.    The high
               dosage    of 30,000 ppm in the present study was selected to achieve body
               weight    decrements of about 10%.

               d.  (ref JPC indication that histopathology was performed on three levels of
               brain and on thoracic and spinal cord sections only on 10 animals per sex
               per group):

                    Registrant responds that all brains were examined in three sections,
               and all spinal cords were examined in the cervical region.        Additional
               sections of spinal cord (thoracic and lumbar regions) were examined in 10
               animals/sex/group, as recommended in 1978 guidelines, which were currrent at
               the time of this study.

               e.  (ref indication by JPC and/or Environmental Health Specialist that there
               was excessive mortality in the study):

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                  Registrant:       notes    that     mortality       was   well   within   limitations   of   1982
             guidelines.

             f.  (JPC stated that "Pathologist combines M & F for lymphoreticular tumors-
             -not justified):     also
                 (JPC requested historical incidence data for lymphoreticular                             tumors,
             renal tubular neoplasms, and chronic interstitial nephritis):

                   Registrant responds that lymphoreticular tumor incidence data was
             presented both by sex and combined [ see Vol . 076, Tab " Pathology Report, p.
             400].

                    The requested historical data are presented in Attachment 1 of Vol. 163.


                                                        IV. DISCUSSION

                  The responses of the registrant encompassed in items a-f above,
             combined with the additional data in Vols. 142-148, suffice to make this
             report complete and acceptable as an oncogenicity study.

                  The additional data in Attachment 1 of Vol. 163 reported frequencies of
             most neoplastic and non-neoplastic findings which varied substantially due
             to inter-study differences in lesion designation.    Some commonly-occurring
             geriatric findings were counted in some studies but not in others (normal
             evidences of the aging process apparently not being counted by some
             pathologists as "findings": (chronic) interstitial nephritis being a typical
             case in point).    There was no historical data designation for "proximal
             tubule epithelial basophilia and hypertrophy", as this effect was designated
             in Table l (located immediately before Table of Contents of final report,
             Vol. 76). Historical data for liver lesions as described in the above table
             were not requested by J. Christopher, and were not presented in Attachment
             1.   The new information does not change the conclusions. acknowledged by
             Monsanto in Table 1, Vol. 76, which will be considered by CDFA as
             indications of high dose (30000 ppm group) toxicity.  These findings are:

             1.    Central lobular hepatocyte hypertrophy in males.

             2.    Central lobular hepatocyte necrosis in males.

             3.    Chronic interstitial nephritis in males.

             4.    Proximal tubule epithelial basophilia and hypertrophy in females.

             None of these findings are considered "significant adverse adverse effects",
             due to their being restricted to the high dosage groups only.

                  The incidence of lymphoreticular neoplasms appeared to be somewhat
             elevated in high dose females compared to controls and other groups (see
             Vol. 76, Tab "Pathology Report" for a tumor type synopsis, or Vol. 148,
             Appendices .17A-18B for a more detailed breakdown).    When lymphocytic and
             reticulum cell neoplasms are combined as recommended for analysis of
             incidence in some representative rodent species (Jan. 23, 1984 draft of EPA
             Hazard Evaluation Division Standard Evaluation Procedure entitled "Oncogenic

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             Potential:    Guidance for Analysis and Evaluation of Long Term Rodent
             Studies"), the incidence of lv;aphoreticular neoplasms in the present study
             is not out of the historical control data range given in Attachment I or
             Vol. 163.   Incidence of controls vs high dose females is not significant by
             Fisher's exact test.       There is thus not a sufficient increase in
             lymphoreticular neoplasms in high dose females to judge these findings to be
             a treatment-related effect.

                  Renal tubular adenomas were noted in Vol. 76, Tab "Pathology Report" as
             having occurred in one 5000 ppm male and in three 30000 ppm males, but not
             in any other groups.      Vol. 128 reports results of re-examination of
             previously cut sections and examinations of three additional sections/kidney
             of all mice on study.  It was determined on this re-examination that control
             male mouse #1028 had a small renal tubular epithelial tumor not previously
             discovered, which would appear to reduce the likelihood that the findings in
             the higher two dosage groups was real.     The EPA publication, "Guidance for
             the reregistration of pesticide products containing glyphosate as the active
             ingredient" (June, 1986, p. 6), states that the control male finding was not
             considered by EPA HED Toxicology Branch to represent a validated neoplasm:
             the final EPA determination was that "After examination of the slides, the
             Agency concluded that this lesion did not represent a pathophysiologically
             significant change".    Historical incidence from Attachment 1 of Vol. 163
             indicate only 3 tubular adenomas out of 1159 kidneys examined, two instances
             being in one study group of 120 kidneys (presumed by_this reviewer to
             represent 60 mice).     Although the incidence in the glyphosate study is
             obviously non-significant by Fisher'-s exact test whether there be 0 or 1
             such neoplasms in controls,     the relative rarity of this lesion and the
             findings of 3 such tumors in 30000 ppm males is sufficient reason to
             conclude that there is very possibly a treatment effect at the 30000 ppm
             level.


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                           Toxicologist                                       Date




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